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                                 ** CIVIL MINUTES **

Date: 4/15/2021                                            Judge: Alston
Time: 10:34 – 10:45
Reporter: T. Harris

Civil Action Number: 1:21cv282

                         Fallen Productions, Inc., et al. v. Doe, et al.

                 Counsel for Plaintiffs:         Counsel for Defendants:
                 Kerry Culpepper

Appearance of Counsel for Plaintiffs

Matter on for:

Preliminary Injunction Hearing

Plaintiff’s [19] Second Ex Parte Motion for Temporary Asset Restraint, Preliminary Injunction
and Expedited Discovery


Motions argued and taken under advisement. TRO previously entered to remain in effect. Ruling
to issue by the end of the week.
